Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 1 of 46                PageID 1




                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TENNESSEE
                               WESTERN DIVISION


WOGAN GROUP LLC;
THE LENNOX COMPANIES, LLC;
APPLEWOOD PROPERTY MANAGEMENT, LLC;
TIGER LILY LLC;
HUNTER OAKS APARTMENTS UTAH, LLC;
NORTH 22ND FLAT, LLC;
CHERRY HILL GARDENS LLC;
CHURCHILL TOWNHOMES LLC;
DAVID AND REBECCA CORPORATION; and
BRITTANY RAILEY

       Plaintiffs

vs.                                                     No: 2:20-cv-2691


UNITED STATES DEPARTMENT OF HOUSING AND URBAN DEVELOPMENT
and BENJAMIN S. CARSON, M.D. in his official capacity as United States Secretary of
Housing and Urban Development;
UNITED STATES DEPARTMENT OF JUSTICE
and WILLIAM P. BARR, in his official capacity as United States Attorney General;
UNITED STATES CENTER FOR DISEASE CONTROL AND PREVENTION
and NINA B. WITKOVSKY, in her official capacity as Acting Chief of Staff of the Center for
Disease Control and Prevention;
UNITED STATES DEPARTMENT OF HEALTH & HUMAN SERVICES
and ALEX AZAR, in his official capacity as United States Secretary of Health and Human
Services;
VICE ADMIRAL JEROME M. ADAMS, M.D., in his official capacity as United States
Surgeon General; and
D. MICHAEL DUNAVANT, in his official capacity as United States Attorney General for the
Western District of Tennessee

       Defendants.




      COMPLAINT FOR DECLARATORY JUDGMENT AND INJUNCTIVE RELIEF
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 2 of 46                         PageID 2




       For their causes of action, Plaintiffs, through their undersigned counsel of record, Glankler

Brown, PLLC, would show unto this Honorable Court as follows:

                                  PRELIMINARY STATEMENT
       Plaintiffs, and their undersigned counsel, bring this action with humility and reticence.

Plaintiffs have great respect and admiration for the United States of America, its founders, whose

vision established this republic under the framework of our Constitution, and our governmental

leaders, including those named herein as Defendants by virtue of their official capacities, who have

led this nation with the goal of making it a more perfect union. Plaintiffs’ action herein is in no

way intended to be a critique of our government’s intentions, nor is it intended to be viewed as a

political attack on the motivations of our elected and appointed governmental leaders – past or

present.

       Instead, the greatness of our nation, so established by our forefathers through the

Constitution, protected and preserved by brave men and women, and championed by our

government, can only be sustained and empowered when the citizenry is entitled to respectfully

challenge government action that potentially runs afoul of our principles and laws. Indeed, it is

our duty as citizens to undertake such action.

       Plaintiffs recognize that the current health crisis arising out of COVID-19 has impressed

upon the citizens and government of the United States a great responsibility. The legislative and

executive branches of the federal government, as well as those of the various states, have

undertaken diverse and varied efforts to halt the spread of this debilitating pandemic. These varied

efforts have taken the form of sundry public health mandates, economic protections, laws, orders,

and regulations. There is little doubt that the aim of these efforts to preserve, protect, defend, and

support the citizenry are undertaken nobly.



                                                  2
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 3 of 46                         PageID 3




       And yet, government action —particularly at this time— must still be consistent with the

fundamental and protected rights of all and cannot be the result of an over-reach of authority. The

recently promulgated Centers for Disease Control order suspending all residential evictions

nationwide infringes upon the constitutional rights of property owners and managers, large and

small, by preventing —and taking from— those owners and managers, without authority or proper

justification, the free and unrestricted use and enjoyment of their property without just

compensation and without due process of law.

       Plaintiffs readily acknowledge the nobility of the CDC’s and, by extension, the executive

branch’s, desire to help those profoundly affected by the current health crisis; however, that help

must conform to the law and must not infringe unlawfully upon the rights of others.

       As beneficiaries of the legacy so created by our forefathers, these Plaintiffs feel a duty to

ensure that the rights of all people are protected. And as fiduciaries of the law and officers of the

court, undersigned counsel feel a duty to ensure that the rights of all people are preserved. It is

within this framework, and the desire only to seek the truth in facts and justice, that the subject

action is respectfully brought.

                                         INTRODUCTION

       The Plaintiffs are a diverse group of individuals and business organizations that own and/or

manage residential real property in the form of multi-family apartment complexes, duplexes,

townhomes and single family residences (hereinafter referred to as “Units”), all located within the

Western District of Tennessee. Plaintiffs provide safe and quality housing for individuals and

families of all ages, races, colors, genders, national origins, and religions. In addition, several of

these Plaintiffs also provide safe and quality housing for individuals with mental and/or physical

disabilities and others in need of, and lawfully entitled to, special accommodations.


                                                  3
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 4 of 46                           PageID 4




        While the Plaintiffs generate income from their business activities —income that supports

both their own families and the families’ of their employees— each Plaintiff fundamentally feels

a sense of duty to provide safe and quality housing to those in need and with strict adherence to

local, state and federal laws and guidelines.

        As part of their regular business activities, the Plaintiffs, and hundreds others like them

who own and/or manage properties within the Western District of Tennessee, lease Units to

individuals and families (hereinafter referred to as “tenants”) under written residential lease

contracts (hereinafter referred to as “lease agreements”) compliant with the Tennessee Uniform

Residential Landlord Tenant Act, T.C.A. § 66-28-101, et seq. (“URLTA”).                    These lease

agreements include provisions, amongst others: (i) establishing the term of the tenant’s leasehold

interest in the Unit, after which the tenant is legally required to surrender possession of the Unit to

the relevant Plaintiff, and (ii) entitling Plaintiffs to the timely payment from the tenant of the agreed

upon monthly rent. Plaintiffs rely upon the rental income received from their tenants to provide

the services needed by the tenants and to pay expenses, including, but not limited to, upkeep and

maintenance of the Units, applicable real estate, franchise, and excise taxes, and mortgage and

debt service obligations. When the tenants fail to pay rent as required under the lease agreements,

they are in material breach of the lease agreements, and the URLTA grants Plaintiffs the legal right

to terminate the lease agreement, commence proceedings to evict the defaulting tenants, dispossess

the tenants from the Units, regain possession of the Units, secure a judgment for rent arrearage,

and re-let the Units to new rent-paying tenants. This rental paradigm exists in all fifty (50) states,

and the District of Columbia, and is an underlying and basic right of property ownership and

leasehold interests.




                                                   4
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 5 of 46                       PageID 5




       Following the outbreak and spread of COVID-19 in early 2020, Congress enacted the

Coronavirus Aid, Relief, and Economic Security Act (the “Cares Act”). The Cares Act imposed

a moratorium upon residential evictions for many of these Plaintiffs and any other owners or

managers of “covered properties,” as broadly defined in the Cares Act, for a period of 120 days

commencing at enactment. The Cares Act resulted in these Plaintiffs, as well as other property

owners and managers in the Western District of Tennessee and nationwide, being forced to

continue to allow non-paying, delinquent, and defaulting tenants to remain in their Units, and

required Plaintiffs to continue to unilaterally incur all the costs of providing these tenants with

services without receipt of rental income. The foregoing notwithstanding, the Cares Act also

provided contemporaneous relief to some of the Plaintiffs in the form of mortgage and tax

forbearances, Paycheck Protection Program (PPP) forgivable loans, and other COVID-19 related

government assistance.

       The Cares Act eviction moratorium enacted by Congress expired July 24, 2020 but

contained a thirty (30) day post-expiration notice period which effectively extended the Cares Act

eviction moratorium through August 25, 2020. Congress elected not to extend the eviction

moratorium through further legislation and, on August 8, 2020, President Donald J. Trump

(hereinafter “President Trump”) directed his administration, and certain cabinet departments

within the executive branch of the federal government, without Congressional authorization, to

“take all lawful measures to prevent residential evictions and foreclosures resulting from financial

hardships caused by COVID-19.” (Emphasis added).            In apparent furtherance of President

Trump’s August 8, 2020 directive, on September 4, 2020, the acting Chief of Staff for the Center

for Disease Control, Nina Witkovsky, in coordination and with the concurrence of Dr. Benjamin

S. Carson, Secretary of the United States Department of Housing and Urban Development, both



                                                 5
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 6 of 46                        PageID 6




Alex Azar and Vice Admiral Jerome Adams, M.D. of the United States Department of Health &

Human Services, and with civil and criminal enforcement authority delegated to William P. Barr

and D. Michael Dunavant, of the United States Department of Justice, promulgated an order styled

“Temporary Halt in Residential Evictions to Prevent the Further Spread of Covid 19” (hereinafter

referred to as the “Halt Order” and attached hereto and incorporated herein as Exhibit A). This

Halt Order expands the scope of the original eviction moratorium against these Plaintiffs from

“covered properties” under the Cares Act to all individuals and business organizations that own

and/or manage any residential real property anywhere in the United States. The Halt Order

effectively prevents all evictions against any non-paying, delinquent, and defaulting tenants

through December 31, 2020. Unlike the Cares Act, neither the Halt Order, nor any associated

law, regulation, rule, or order promulgated by any branch or agency of the federal government,

provides contemporaneous relief of any kind to the Plaintiffs during this mandated additional four

(4) month eviction moratorium.

       The Halt Order is, ostensibly, premised upon the theory that non-paying, delinquent, and

defaulting tenants who are evicted from Units might become homeless and, if they became

homeless, might further spread COVID-19. Importantly, the Halt Order provides no scientific,

statistical, or anecdotal basis for this nationwide directive. While offering nothing in the form of

compensation or other relief to the Plaintiffs so deeply prejudiced, the Halt Order instead threatens

substantial civil and criminal (jail) sanctions against any property owners and/or managers who do

not comply with the terms of the Halt Order.

       As a result of the Halt Order’s eviction moratorium, and without any associated and

balanced relief for the Plaintiffs and other property owners and/or managers of residential real

property, the federal government is unlawfully taking the private property of these individuals and



                                                 6
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 7 of 46                      PageID 7




companies, depriving them of both use and possession —without a hearing in which they could

offer evidence as to why the taking is unlawful or otherwise not warranted by the particular facts

and circumstances— and without any compensation, let alone just compensation, as fundamentally

required under the law.

       The Halt Order therefore is unconstitutional, as it violates the Takings Clause and amounts

to a denial and deprivation of substantive and procedural Due Process in violation of the Fifth

Amendment to the United States Constitution (hereinafter referred to as the “Constitution”).

       In addition, the Halt Order is violative of the Tenth Amendment to the Constitution and its

Anti-Commandeering Doctrine, the Supremacy Clause of the Constitution, and Plaintiffs’

fundamental right to access the judiciary, among other bases. Enforcement of the Halt Order acts

as an unlawful suspension of law, including state law.

       Finally, the CDC lacked the authority to promulgate and enforce the Halt Order under the

cited bases.

       Plaintiffs respectfully ask this Honorable Court for a declaratory judgment finding that the

Halt Order is violative of the fundamental principles of constitutional law and that the Halt Order

be declared null and unenforceable. Plaintiffs further respectfully ask that this Honorable Court

grant injunctive relief against the Defendants, precluding any effort by the Defendants to enforce

any element of the Halt Order or to pursue any criminal or civil penalties against Plaintiffs for

alleged violations of the Halt Order.

                                            PARTIES

       1.      Plaintiff, Wogan Group, LLC, is a Tennessee limited liability company which

manages 1,445 Units within this jurisdiction.




                                                7
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 8 of 46                      PageID 8




        2.      Plaintiff, The Lennox Companies, LLC, is a Tennessee limited liability company

which manages 422 Units within this jurisdiction.

        3.      Plaintiff, Applewood Property Management, LLC, is a Tennessee limited liability

company which manages 1,405 Units within this jurisdiction.

        4.      Plaintiff, Tiger Lily, LLC, is a Tennessee limited liability company which owns

and manages 94 Units within this jurisdiction.

        5.      Plaintiff, Hunter Oaks Apartments Utah, LLC, is a Utah limited liability company

duly authorized to do business in the State of Tennessee which owns and manages 3,479 Units

within this jurisdiction.

        6.      Plaintiff, North 22nd Flat, LLC, is a New Jersey limited liability company which

owns and manages 268 Units within this jurisdiction.

        7.      Plaintiff, Cherry Hill Gardens, LLC, is a Tennessee limited liability company which

owns and manages 50 Units within this jurisdiction.

        8.      Plaintiff, Churchill Townhomes, LLC, is a Tennessee limited liability company

which owns and manages 26 Units within this jurisdiction.

        8.      Plaintiff, David and Rebecca Corporation, is a Tennessee corporation which owns

45 Units comprised of single-family homes within this jurisdiction.

        10.     Plaintiff, Brittany Railey, is an adult resident of Shelby County, Tennessee who

owns 90 Units comprised of single-family homes within this jurisdiction.

        11.     Upon information and belief, the Plaintiffs herein own and/or manage more than

Seven Thousand Two Hundred and Fifty (7,250) residential Units located within the Western

District of Tennessee and have each been adversely impacted by the Halt Order. Wogan Group,

LLC, The Lennox Companies, LLC, Applewood Property Management, LLC, Tiger Lily, LLC,



                                                 8
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 9 of 46                     PageID 9




Hunter Oaks Apartments Utah, LLC, North 22nd Flat, LLC, David and Rebecca Corporation,

Cherry Hill Gardens, LLC, Churchill Townhomes, LLC, Brittany Railey are referred to herein

collectively as “Plaintiffs”.

        12.     Established in 1965, Defendant, United States Department of Housing and Urban

Development, is a cabinet department in the executive branch of the federal government (referred

to herein as “HUD”). HUD may be served with process through The Associate General Counsel

for Litigation, Office of Litigation - Room 10258, U.S. Department of Housing and Urban

Development, 451 Seventh Street, S.W., Washington, D.C. 20410.

        13.     Defendant, Benjamin S. Carson, M.D. (referred to herein as “Secretary Carson”),

is the Secretary of Defendant United States Department of Housing and Urban Development.

Secretary Carson is sued only in his official capacity and may be served with process at the U.S.

Department of Housing and Urban Development, 451 Seventh Street, S.W., Washington, D.C.

20410. Service upon Secretary Carson is likewise being effectuated by and through service upon

the United States pursuant to F.R.C.P Rule 4(i)(2).

        14.     Established in 1870, Defendant, United States Department of Justice, is a cabinet

department in the executive branch of the federal government (referred to herein as the “DOJ”).

The DOJ may be served with process through the U.S. Attorney General at 950 Pennsylvania Ave.,

NW, Washington, D.C. 20530; the Assistant Attorney General for Administration, U.S.

Department of Justice, Justice Management Division, 950 Pennsylvania Avenue, NW, Room

1111, Washington, DC 20530; and the U.S. Attorney for the Western District at 167 North Main

Street, Suite 800, Memphis, TN 38103.

        15.     Defendant, William P. Barr (referred to herein as “Attorney General Barr”), is the

United States Attorney General. Attorney General Barr is sued only in his official capacity and



                                                9
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 10 of 46                   PageID 10




may be served at the U.S. Department of Justice, 950 Pennsylvania Avenue, NW, Room 1111,

Washington, DC 20530. Service upon Attorney General Barr is likewise being effectuated by and

through service upon the United States pursuant to F.R.C.P Rule 4(i)(2).

       16.     Established in 1946, the United States Center for Disease Control and Prevention

(referred to herein as the “CDC”), is a national public health agency under the United States

Department of Health and Human Services. The CDC may be served with process through Dr.

Robert R. Redfield, Director, at 1600 Clifton Road, Atlanta, GA 30333.

       17.     Defendant, Nina B. Witkovsky (referred to herein as “Ms. Witkovksy”), is the

Acting Chief of Staff of the Center for Disease Control and Prevention. Ms. Witkovsky is sued

only in her official capacity and may be served at the Center for Disease Control and Prevention,

1600 Clifton Road, Atlanta, GA 30333. Service upon Ms. Witkovksy is likewise being effectuated

by and through service upon the United States pursuant to F.R.C.P Rule 4(i)(2).

       18.     Established in 1939 and renamed in 1979, the United States Department of Health

& Human Services (referred to herein as “HHS”), is a cabinet department in the executive branch

of the federal government. HHS may be served with process through its General Counsel Robert

P. Charrow, at 200 Independence Ave, S.W. Room 713-F, Washington, D.C. 20201.

       19.     Defendant, Alex Azar (referred to herein as “Secretary Azar”), is the Secretary of

Defendant United States Department of Health & Human Services. Secretary Azar is sued only

in his official capacity and may be served at 200 Independence Ave, S.W., Washington, D.C.

20201. Service upon Secretary Azar is likewise being effectuated by and through service upon the

United States pursuant to F.R.C.P Rule 4(i)(2).

       20.     Defendant, Vice Admiral Jerome M. Adams, M.D. (referred to herein as “Admiral

Adams”), is the Surgeon General for the United States of America in the United States Department



                                                  10
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 11 of 46                       PageID 11




of Health & Human Services. Admiral Adams is sued only in his official capacity and may be

served at 200 Independence Ave, S.W., Washington, D.C. 20201. Service upon Admiral Adams

is likewise being effectuated by and through service upon the United States pursuant to F.R.C.P

Rule 4(i)(2).

       21.      Defendant, D. Michael Dunavant (referred to herein as “U.S. Attorney Dunavant”),

is the United States Attorney for the Western District of Tennessee. U.S. Attorney Dunavant is

sued only in his official capacity and may be served at the U.S. Attorney’s Office, 167 North Main

Street, Suite 800, Memphis, TN 38103. Service upon U.S. Attorney Dunavant is likewise being

effectuated by and through service upon the United States pursuant to F.R.C.P Rule 4(i)(2).

       22.      The United States Department of Housing and Urban Development, United States

Department of Justice, United States Center for Disease Control and Prevention, and United States

Department of Health & Human Services are all duly created agencies of the federal government

and the acts referenced herein were all taken in that capacity, under alleged government authority

and color of law, and on behalf of the federal government and the administration of President

Donald J. Trump. As such, these parties are sometimes referred to herein individually by their

respective agency designations, and other times collectively as the “Government” or “Defendants”.

                                  JURISDICTION AND VENUE

       23.      Plaintiffs seek both declaratory and injunctive relief with respect to the Halt Order

promulgated on September 4, 2020 by Ms. Witkovksy of the CDC in coordination and with the

concurrence of Secretary Carson of HUD, Secretary Azar and Admiral Adams of HHS, and with

threatened civil and criminal prosecution against all Plaintiffs by Attorney General Barr and U.S.

Attorney Dunavant of the DOJ for its violation.           Plaintiffs aver that the Halt Order is

unconstitutional on a number of discrete grounds as it, inter alia, violates the Takings Clause and


                                                 11
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 12 of 46                          PageID 12




amounts to a denial of substantive and procedural Due Process, all in violation of the Fifth

Amendment to the United States Constitution. Plaintiffs likewise aver that the Halt Order is

violative of the Tenth Amendment to the United States Constitution and its Anti-Commandeering

Doctrine, the Supremacy Clause of the Constitution, and Plaintiffs’ fundamental right to access

the judiciary. Enforcement of the Halt Order acts as an unlawful suspension of law. Additionally,

there is no legal or statutory bases conferring authority upon the CDC to enact and enforce the Halt

Order and Congress has not delegated such authority to the executive branch or the CDC. As such,

the Halt Order should be declared unconstitutional and unenforceable, and this Honorable Court

should grant injunctive relief against the Defendants, who in their official capacities, seek to

enforce the Halt Order and the penalties for alleged violations thereof.

       24.      This Honorable Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

as to all claims for relief set forth in Plaintiffs’ Complaint because all such claims involve questions

of federal law, and interpretation of federal statutes, rules, regulations, and/or orders, and the

Constitution.

       25.      Jurisdiction to file suit against the Government and seek injunctive relief for

violation of Plaintiffs’ constitutional rights is premised upon 28 U.S.C. § 1346(a)(2).

       26.      Jurisdiction for declaratory relief from this Honorable Court is premised upon 28

U.S.C. §§ 2201, 2202.

       27.      All Plaintiffs conduct business within the Western District of Tennessee, own

and/or manage residential real property impacted by the Halt Order located within the Western

District of Tennessee, and currently have non-paying, delinquent, and defaulting tenants whom

Plaintiffs are lawfully entitled to evict – but for the Halt Order - under a lease agreement and the

URLTA.. The Plaintiffs are at risk of criminal prosecution by Attorney General Barr and U.S.



                                                  12
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 13 of 46                     PageID 13




Attorney Dunavant if they fail to comply with the Halt Order, which absent intervention from this

Honorable Court, would be initiated by U.S. Attorney Dunavant in the Western District of

Tennessee. U.S. Attorney Dunavant is a resident of the Western District of Tennessee and all of

his offices are located within the Western District of Tennessee.

         28.   Venue is appropriate in the Western District of Tennessee under 28 U.S.C. §§

1391(b)(1), 1391(b)(2).

         29.   Rule 65 of the Federal Rules of Civil Procedure allows this Honorable Court to

issue a preliminary injunction upon notice to the adverse parties.

                                             FACTS

         30.   Plaintiffs reflect a diverse group of individuals and business organizations who,

upon information and belief, own and/or manage more than Seven Thousand Two Hundred and

Fifty (7,250) residential Units located within the Western District of Tennessee, who are being

denied the use, enjoyment, and possession of their Units, and who are suffering significant

financial loss and damages –all as a direct and proximate result of the unconstitutional issuance

and enforcement of the Halt Order.

         31.   As consideration for providing tenants leasehold interests, possession, and use of

Units owned and/or managed by Plaintiffs, Plaintiffs and the tenants enter into lease agreements

duly compliant with all provisions of the URLTA and federal law.

         32.   Amongst others, a material term in these lease agreements is the tenants’ mutually

exclusive covenant to timely pay rent as compensation to Plaintiffs for use and possession of the

Units.

         33.   Plaintiffs rely upon the rental income received from the tenants to provide services

needed by the tenants and to pay expenses such as upkeep and maintenance of the Units, applicable


                                                13
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 14 of 46                        PageID 14




real estate, franchise, and excise taxes, mortgage obligations, and to provide income and livelihood

to the individual Plaintiff owners, members, shareholders, and employees.

        34.      Under both the URLTA and general contract principles of Tennessee law, the

failure of a tenant to timely pay his or her monthly rent obligation constitutes a material breach of

the lease agreement and entitles Plaintiffs to initiate court action to terminate the lease agreement,

dispossess the tenant from the Unit, and either retain the Unit in vacancy, or locate a new tenant

to occupy the Unit for rent – whichever the Plaintiffs deem to be in their best interests.

        35.      In addition, these lease agreements contain a material term which identifies the

agreed upon duration of tenants’ leasehold and possessory interest to the Unit.

        36.      Under both the URLTA and general contract principles of Tennessee law, absent

mutual consent to the contrary, the failure of a tenant to vacate the Unit upon expiration of the

lease term and to promptly return possession of the Unit to the owner or manager, constitutes a

material breach of the lease agreement and entitles Plaintiffs to initiate court action to terminate

the lease agreement, dispossess the tenant from the Unit, and either retain the Unit in vacancy, or

locate a new tenant to occupy the Unit for rent – whichever the Plaintiffs deem to be in their best

interests.

        37.      While under the lease agreement, the URLTA, and general contract principles of

Tennessee law, Plaintiffs are entitled to also bring legal action to recover unpaid rent from non-

paying, delinquent, and defaulting tenants at the time an eviction action is brought, this money is

very often never recovered by Plaintiffs for several reasons:

        a. In a great majority of the eviction actions filed in the Western District of Tennessee,

              service of process is accomplished under T.C.A. §29-18-115 (e)(2)(a) by posting the

              Forcible Entry and Detainer (FED) Warrant upon the front door of the Unit. In all cases



                                                  14
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 15 of 46                        PageID 15




              wherein service of process is accomplished under this statute, the trial court’s

              jurisdiction is limited to only returning possession of the Unit to the owner or manager

              and the trial court is prohibited from awarding the owner or manager any monetary

              recovery for the tenant’s non-payment of rent.

        b. In the limited scenarios wherein personal service on the tenant of the Forcible Entry

              and Detainer (FED) Warrant is accomplished under T.C.A. §29-18-115 (e)(1), and the

              trial court awards the owner or manager a monetary judgment for the tenant’s non-

              payment of rent, owners and managers rarely recover these sums from the tenant.

        38.      As such, and as a matter of course in the industry, particularly within the Western

District of Tennessee, Plaintiffs’ primary efforts are to promptly initiate actions against non-

paying, delinquent, and defaulting tenants to dispossess the defaulting tenants from the Units and

regain possession, without regard to recovering delinquent rent.

        39.      Far more important to the Plaintiffs than trying to collect these often unrecoverable

delinquent monies, the prompt recovery of lawful use of the Unit allows the owner or manager to

safely secure the Unit, to preserve and protect it from damage, to reduce the outlay of ongoing

expenses, and to either retain the Unit in vacancy, or locate a new paying tenant to occupy the

Unit.

        40.      This Honorable Court can take judicial notice of the current global pandemic of a

respiratory disease (“COVID-19”) caused by a novel coronavirus (SARS-COV-2) which has

impacted individuals in all fifty states, the District of Columbia, and in almost every country

around the world.




                                                  15
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 16 of 46                          PageID 16




        41.     The virus that causes COVID-19 spreads between people who are in close contact

with one another, mainly through respiratory droplets produced when an infected person coughs,

sneezes or talks.

        42.     The overwhelming majority of people who contract the virus that causes COVID-

19 never display physical symptoms or express only mild symptoms and recover without requiring

any medical intervention; however, in some cases, especially those involving the elderly, or those

with certain underlying medical conditions such as cancer, an immunocompromised state, obesity,

serious heart conditions, and diabetes, the risk for severe illness requiring hospitalization is

increased.

        43.     Though COVID-19 is present in all states, the rate of spread of the disease and the

severity of the public health crisis, varies greatly in different parts of the United States.

        44.     As of September 14, 2020, New York has reported 32,625 deaths resulting from

COVID-19. By contrast, across the entire State of Tennessee, 2,040 deaths resulting from

COVID-19 have been reported.

        45.     While even one single death is too great, the data demonstrates that the severity of

the public health crisis in the Western District of Tennessee due to COVID-19 has been far less

than that of New York City.

        46.     This is likely, amongst other reasons, because areas of the country with greater

population densities, such as New York, are at increased risk for spread of COVID-19 as opposed

to areas of the country where people are living in less densely populated areas such as the Western

District of Tennessee.




                                                  16
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 17 of 46                          PageID 17




        47.     To address various aspects of the COVID-19 pandemic, on March 27, 2020,

Congress passed the Coronavirus Aid, Relief, and Economic Security Act (Pub. L. 116-136) to aid

individuals and businesses adversely affected by COVID-19.

        48.     Section 4024 of the Cares Act provided a 120-day moratorium on residential

eviction filings by owners and managers of Units with a nexus to the federal government either

because the property receives federal rent assistance or because the property maintains federally

related financing (referred to herein as “Covered Properties”).

        49.     Under the Cares Act eviction moratorium, Plaintiffs with Covered Properties were

forced to continue to allow non-paying, delinquent, and defaulting tenants living in those Covered

Properties to remain in their Units, requiring Plaintiffs to continue to unilaterally incur all the costs

of providing these tenants with services, despite the tenants’ material breaches of the lease

agreement and without the benefit of vital rental income.

        50.     However, in some instances, the Cares Act also provided contemporaneous relief

to Plaintiffs with Covered Properties in the form of mortgage and tax forbearances, Paycheck

Protection Program (PPP) forgivable loans, and other COVID-19 related government grants.

        51.     All Plaintiffs have tenants in Units who failed to pay rent during the 120-day

moratorium on eviction, but because of the Cares Act, the Plaintiffs were unable to dispossess the

non-paying, delinquent, and defaulting tenants and regain possession of their Units.

        52.     The Cares Act eviction moratorium enacted by Congress expired July 24, 2020, but

contained a thirty (30) day post-expiration notice period which effectively extended the Cares Act

eviction moratorium through August 25, 2020.




                                                   17
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 18 of 46                     PageID 18




        53.    As such, eviction proceedings by owners or managers of Covered Properties against

non-paying, delinquent, and defaulting tenants, could not be prosecuted until after August 26,

2020.

        54.    Congress elected not to extend the Cares Act eviction moratorium.

        55.    After August 26, 2020, Plaintiffs took lawful steps to terminate defaulted lease

agreements, dispossess tenants —many of whom were three (3) to four (4) months delinquent in

their rent obligations to Plaintiffs— and to prosecute court proceedings to evict these tenants and

regain lawful possession of the Units.

        56.    On August 8, 2020, President Trump signed an “Executive Order on Fighting the

Spread of Covid-19 by Providing Assistance to Renters and Homeowners” (hereinafter referred to

as the “Executive Order” and attached hereto and incorporated herein as Exhibit B).

        57.    The Executive Order declared that, despite not having Congressional authorization

to extend the Cares Act eviction moratorium, President Trump directed his administration and

certain agencies of government within the executive branch to “take all lawful measures to prevent

residential evictions and foreclosures resulting from financial hardships caused by COVID-19.”

        58.    The Executive Order provided that “The Secretary of Health and Human Services

and the Director of the CDC shall consider whether any measures temporarily halting residential

evictions of any tenants for failure to pay rent are reasonably necessary to prevent the further

spread of Covid-19 from one State or possession into any other State or possession.”

        59.    On September 1, 2020, a public announcement was issued that “following an

Executive Order by President Trump, the Center for Disease Control and Prevention is using its

authority to temporarily halt evictions during the Covid-19 epidemic” (hereinafter referred to as

the “Public Announcement” and attached hereto and incorporated herein as Exhibit C).



                                                18
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 19 of 46                      PageID 19




          60.    The CDC, through its acting Chief of Staff, Ms. Witkovsky, in coordination and

with the concurrence of Secretary Carson at HUD and Secretary Azar and Admiral Adams at

HHS, promulgated an order styled “Temporary Halt in Residential Evictions to Prevent the Further

Spread of Covid-19” (the “Halt Order”) which became effective upon publication in the Federal

Register (85 Fed. Reg. 55292) on September 4, 2020.

          61.    Under the Halt Order, the preclusion on evictions against non-paying, delinquent,

and defaulting tenants extends for four (4) additional months from September 4, 2020, through

December 31, 2020, unless further “extended” (85 Fed. Reg. 55297).

          62.    The claimed legal authority asserted by the CDC, HUD, and HHS for promulgation

of the Halt Order is Section 361 of the Public Health Services Act (42 U.S.C. § 264 and 42 C.F.R.

§ 70.2.

          63.    In relevant part, 42 U.S.C. § 264 (a) provides:

                 The Surgeon General, with the approval of the Secretary, is authorized to
                 make and enforce such regulations as in his judgment are necessary to
                 prevent the introduction, transmission, or spread of communicable diseases
                 from foreign countries into the States or possessions, or from one State or
                 possession into any other State or possession. For purposes of carrying out
                 and enforcing such regulations, the Surgeon General may provide for such
                 inspection, fumigation, disinfection, sanitation, pest extermination,
                 destruction of animals or articles found to be so infected or contaminated
                 as to be sources of dangerous infection to human beings, and other
                 measures, as in his judgment may be necessary.

          42 U.S.C. § 264 in its complete form is attached hereto and incorporated herein as

Exhibit D.

          64.    42 C.F.R. § 70.2 provides:

                 Whenever the Director of the Center for Disease Control and Prevention
                 determines that the measures taken by health authorities of any State or
                 possession (including political subdivisions thereof) are insufficient to
                 prevent the spread of any of the communicable diseases from such State or
                 possession to any other State or possession, he/she may take such measures

                                                  19
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 20 of 46                     PageID 20




               to prevent such spread of the diseases as he/she deems reasonably necessary,
               including inspection, fumigation, disinfection, sanitation, pest
               extermination, and destruction of animals or articles believed to be sources
               of infection.

       42 C.F.R. § 70.2 in its complete form is attached hereto and incorporated herein as

Exhibit E.

       65.     It is clear that both 42 U.S.C. § 264 and 42 C.F.R. § 70.2 are intended to address

federal government efforts to address the spread of already contaminated persons or personal

property —most notably foreign persons and livestock— whose contamination threatens

introduction into the United States or interstate expansion from contaminated to non-contaminated

U.S. States.

       66.     Neither 42 U.S.C. § 264 nor 42 C.F.R. § 70.2 provides for the termination or

suspension of real property rights of individual citizens, nor do they provide for any action

involving un-contaminated persons or un-contaminated property within a U.S. State (i.e., intrastate

action or concerns).

       67.     Furthermore, neither 42 U.S.C. § 264 nor 42 C.F.R. § 70.2 terminates the

fundamental constitutional mandate that any action which results in the taking of property be

subjected to due process of law and be offset by just government compensation.

       68.     Section 361 of the Public Health Services Act requires the concurrence of Secretary

Carson, Secretary Azar and Admiral Adams as a pre-condition to issuing any order.

       69.     Secretary Carson, Secretary Azar and Admiral Adams, in their official capacities

and on behalf of HUD and HHS respectively, concurred in the issuance of the Halt Order under

42 U.S.C. § 264 and 42 C.F.R. § 70.2.




                                                20
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 21 of 46                       PageID 21




       70.       The Halt Order expressly states that it is not a rule within the meaning of the

Administrative Procedure Act, but rather is an emergency action taken under the existing authority

of 42 CFR § 70.2, and provides that:

       “a landlord, owner of a residential property, or other person with a legal right to
       pursue eviction or possessory action shall not evict any covered person from any
       residential property in any State…”.

       71.       A “covered person” in the Halt Order is defined as:

        “any tenant, lessee, or resident of a residential property who provides to their
       landlord, the owner of the residential property, or other person with a legal right
       to pursue eviction or a possessory action, a declaration under penalty of perjury
       that (1) the individual is using best efforts to obtain all available government
       assistance for housing; (2) the individual earns no more than $99,000.00 per year
       in income; (3) the individual is unable to pay the full rent due to a substantial loss
       of household income, loss of compensable hours of work, layoff or extraordinary
       medical expenses; (4) the individual is using best efforts to make timely partial
       payments as the individual’s circumstances permit, and (5) eviction would likely
       render the individual homeless or force the individual to move into and live in close
       quarters in a new congregate or shared living setting because the individual has
       no other available housing options.”

       72.       The Halt Order contains a form “Declaration” that is to be executed by the non-

paying, delinquent, and defaulting tenant and delivered to the owner or manager, asserting that he

or she is a “covered person” within the meaning of the Halt Order.

       73.       The Halt Order does not provide for any hearing before an impartial tribunal to

determine whether a non-paying, delinquent, and defaulting tenant is a “covered person” as a

matter of law.

       74.       The Halt Order does not offer the property owner or manager any forum by which

it may present evidence that a non-paying, delinquent, and defaulting tenant is not a “covered

person” as a matter of fact.




                                                 21
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 22 of 46                    PageID 22




        75.     The Halt Order does not require the non-paying, delinquent, and defaulting tenant

to renew or re-assert his or her continued status as a “covered person” on a month-by-month basis

and is, therefore, ambiguous and without limit.

        76.     Once a Declaration is executed and delivered to the owner or manager, the Halt

Order forbids the owner or manager from taking any steps to evict the non-paying, delinquent, and

defaulting tenant for four (4) months –through December 31, 2020 (allegedly subject to extension).

        77.     During this time, the Halt Order provides no financial relief or compensation to

Plaintiffs in any form at all.

        78.     Instead, referencing 18 U.S.C. §§ 3559, 3571; 42 USC § 271 and 42 CFR § 70.18,

the Halt Order threatens criminal penalties of up to one (1) year in prison and fines of up to

$250,000.00 against an owner or manager who violates the Halt Order.

        79.     The Halt Order directs Attorney General Barr and the DOJ to initiate court

proceedings sought to impose criminal penalties against owners or managers alleged to have

violated the Halt Order.

        80.     Criminal proceedings against these Plaintiffs for alleged non-compliance with the

Halt Order are to be initiated by U.S. Attorney Dunavant within the Western District of Tennessee.

        81.     All Plaintiffs have tenants in Units who are delinquent in the payment of rent and

who would be otherwise lawfully evicted from the Units under the URLTA, but for the Halt Order.

        82.     Many of these tenants have not paid rent since March 2020, and now, between the

Cares Act eviction moratorium and the Halt Order, will not pay rent for at least ten (10) months –

allegedly subject to even further extension.

        83.     Moreover, many of these tenants have lease agreements that have now expired and

these tenants have both refused to pay rent and refused to surrender the Units. Between the Cares



                                                  22
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 23 of 46                       PageID 23




Act eviction moratorium and the Halt Order, these tenants will remain in unlawful possession of

the Units for up to ten (10) months –allegedly subject to further extension.

        84.     At the same time, Plaintiffs are still being required to spend considerable sums to

provide these non-paying, delinquent, and defaulting tenants with residential services, to repair

and keep up the Units, to pay applicable real estate, franchise, and excise taxes, to pay mortgage

and debt service obligations, and to provide income and livelihood to the individual Plaintiff

owners, members, shareholders, and employees..

        85.     In the scenarios outlined above, because of the government action described herein,

Plaintiffs are being completely denied access to, and the free use, enjoyment, and possession of,

their property without any compensation.

        86.     This complete denial of access to, and use and possession of, their property without

any compensation constitutes a governmental taking.

        87.     The statutory authority relied upon by the Government for this taking does not

authorize this taking.

        88.     The Halt Order exceeds the statutory and regulatory authority of the CDC, HUD,

and HHS.

        89.     The right of Plaintiffs to evict a non-paying, delinquent, and defaulting tenants is

exclusively a function of the laws of the State of Tennessee.

        90.     Neither the CDC, HUD, nor HHS have the authority to waive, dispense with, or

suspend duly enacted Tennessee laws.

        91.     The Halt Order frustrates Plaintiffs’ constitutional right to access the State courts

by foreclosing the availability of certain judicial relief.




                                                   23
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 24 of 46                       PageID 24




       92.     Neither the CDC, HUD, nor HHS has acted within any congressionally delegated

authority to impose the Halt Order in violation of the Supremacy Clause of the Constitution.

       93.     Nothing in the statutes or regulations cited in the Halt Order gives the CDC, HUD,

or HHS the authority to issue the Halt Order and interfere with or suspend the operation of

Tennessee law, and the issuance of the Halt Order (and its enforcement) therefore violates the

Tenth Amendment to the Constitution.

       94.     Moreover, the Halt Order impermissibly commandeers the state courts of

Tennessee and requires Tennessee courts and officials o act as arms of the CDC, HUD, and/or

HHS to apply, enforce, and implement an unconstitutional federal mandate. This further violates

the Tenth Amendment to the Constitution.

       95.     Even more, the savings clause included within 42 U.S.C. § 264(e), expressly

provides that 42 U.S.C. § 264(a) and 42 C.F.R. § 70.2 cannot supersede the URLTA or other

Tennessee state laws relating to enforcement or impairment of contracts. As such, the Halt Order

displaces applicable Tennessee state law and authority over residential evictions in further

violation of the Tenth Amendment.

       96.     As a direct result of the Halt Order, these Plaintiffs have been denied their property

and contract rights and the Halt Order unlawfully and unconstitutionally interferes with same.

       97.     As a direct result of the Halt Order, these Plaintiffs are suffering serious economic

injury from which they may not recover.

       98.     As a direct result of the Halt Order, Plaintiffs are being unlawfully denied use and

possession of their property.

       99.     The Halt Order, its issuance, application, and enforcement, violate the foundational

principles of the Constitution and should be struck down.



                                                24
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 25 of 46                     PageID 25




       100.    Plaintiffs are entitled to preliminary and permanent injunctive relief enjoining the

Defendants from enforcing the Halt Order against the Plaintiffs.

                            COUNT I: VIOLATION OF THE TAKINGS CLAUSE

       101.    Plaintiffs hereby reallege and reassert each of the foregoing paragraphs of the

Complaint as if set forth herein verbatim.

       102.    The Takings Clause of the Fifth Amendment to the Constitution provides: “[N]or

shall private property be taken for public use without just compensation.” U.S. Const. Amend. V.

       103.    The aim of the Takings Clause is to prevent the Government from forcing some

people, alone, to bear public burdens which, in all fairness and justice, should be borne by the

public as a whole. Eastern Enterprises v. Apfel, 524 U.S. 498, 522 (1998).

       104.    Determination of whether there is a constitutionally impermissible taking involves

a fact-intensive inquiry.

       105.    Plaintiffs all have property interests in the Units leased to these non-paying,

delinquent, and defaulting tenants.

       106.    The non-payment of rent by these tenants constitutes a monetary breach of these

lease agreements.

       107.    Under both URLTA and general contract principles of Tennessee law, Plaintiffs are

lawfully permitted to terminate non-paying, delinquent, and defaulting tenants’ lease agreements,

take action to dispossess the tenants, and recover use and possession of the Units.

       108.    Because of the Halt Order, however, Plaintiffs are strictly precluded from

terminating the lease agreements of these non-paying, delinquent, and defaulting tenants or from

taking action to dispossess the non-paying, delinquent, and defaulting tenants and recover use and

possession of the Units



                                                25
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 26 of 46                      PageID 26




       109.    The preclusions resulting from the Halt Order amount to total deprivation of the

use and enjoyment of the Units by the owners and managers for a period of not less than four (4)

months.

       110.    The Halt Order deprives Plaintiffs of rental income for their property because under

URLTA and general contract principles of Tennessee law, absent this Halt Order, Plaintiffs would

be lawfully permitted to terminate the lease agreements of the non-paying, delinquent, and

defaulting tenants, take action to dispossess the tenants, recover use and possession of the Units,

and contract with new tenants who would pay rent.

       111.    The Halt Order implements a permanent physical occupation over Plaintiffs’

property. Loretto v. Teleprompter Manhattan CATV Corp. 458 US 419 (1982).

       112.    The Halt Order has the effect of taking property away from the Plaintiffs’ and

transferring Plaintiffs’ lawful rights to use and enjoyment over their property to the non-paying,

delinquent, and defaulting tenants.

       113.    This constitutes a government taking for “private use”.

       114.    Because this governmental taking is for a “private use” (i.e. the private use of the

non-paying, delinquent, and defaulting tenants) the Halt Order is unlawful in that it violates the

Takings Clause which prohibits any and all types of government taking for “private use”.

       115.    Despite the Halt Order’s clear private use effect, the CDC, HUD, and HHS have

claimed that the purported reason for issuing the Halt Order is a “public use” –to reduce the risk

of increased homelessness, and thus reduce the risk of COVID-19 spread.

       116.    Despite this assertion that the Halt Order is necessary to stop the interstate spread

of COVID-19, the Government fails to articulate any factual or scientific basis for the necessity of




                                                26
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 27 of 46                      PageID 27




the national mandate issued in the Halt Order and the Halt Order is, therefore, not reasonable,

rationale, or narrowly tailored to further a compelling interest.

       117.    If the Halt Order is in fact a government taking of Plaintiffs’ property for a public

use, the Government must provide Plaintiffs just compensation for their losses resulting from the

government taking.

       118.    The Halt Order does not provide any compensation to the Plaintiffs for their

financial losses resulting from the taking.

       119.    The Halt Order does not provide any compensation to the Plaintiffs for their losses

of use and enjoyment resulting from the taking.

       120.    The Government has not compensated the Plaintiffs, in any way, for this

government taking.

       121.    Furthermore, and to the contrary, instead of providing the constitutionally required

just compensation to owners and managers for this government taking of their property for alleged

public use, the Government has instead threatened criminal prosecution against any owner or

manager who takes any steps to regain use and enjoyment of his or her property.

       122.    Should the Halt Order be deemed a government taking for “private use,” the Halt

Order is unconstitutional and should be struck down as such.

       123.     Should the Halt Order be deemed a government taking for “public use,” the

constitutionally enshrined principles of justice and fairness require that the Government justly and

fairly compensate Plaintiffs for taking and occupying their property, for lost income, use, and

enjoyment stemming therefrom.

       124.    In either event, the Halt Order violates Plaintiffs’ rights guaranteed by the Takings

Clause of the Fifth Amendment of the Constitution.



                                                 27
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 28 of 46                        PageID 28




       125.    As a direct and proximate result of the Halt Order, the Government has taken and

occupied Plaintiffs’ property, depriving each of the use and economic benefit of their property

currently being held by defaulting tenants and to which Plaintiffs are lawfully entitled under

Tennessee law, all without just compensation from the Government.

       126.    Plaintiffs seek a declaration by this Honorable Court that the Halt Order constitutes

a Government taking without just compensation in violation of the Takings Clause of the Fifth

Amendment to the Constitution.

       127.    Plaintiffs are entitled to preliminary and permanent injunctive relief enjoining the

Defendants from enforcing the Halt Order against the Plaintiffs.

                     COUNT II: VIOLATION OF SUBSTANTIVE DUE PROCESS

       128.    Plaintiffs hereby reallege and reassert each of the foregoing paragraphs of the

Complaint as if set forth herein verbatim.

       129.    The Fifth Amendment to the Constitution provides that: “No person shall…be

deprived of life, liberty, or property without due process of law.” U.S. Const. Amend. V.

       130.    Plaintiffs have protected property interests under Tennessee law with respect to the

Units currently occupied by these non-paying, delinquent, and defaulting tenants.

       131.    Plaintiffs are being deprived use and enjoyment of their property by the Halt Order,

as, but for the Halt Order, Plaintiffs would be lawfully entitled to access and possess their property

currently occupied by these non-paying, delinquent, and defaulting tenants.

       132.    The Due Process Clause “clothes individuals with the right to both substantive and

procedural due process.” United States v. Salerno, 481 U.S. 739, 746 (1987).




                                                 28
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 29 of 46                       PageID 29




       133.    The doctrine of Substantive Due Process provides that governmental deprivations

of life, liberty, or property are subject to limitations regardless of the adequacy of the procedures

employed. Parrino v. Price, 869 F.3d 392, 397 (6th Cir. 2017).

       134.    Substantive Due Process protects individuals from the exercise of power without

any reasonable justification even in the service of a legitimate governmental objective. City of

Sacramento v. Lewis, 523 U.S. 833, 846 (1998).

       135.    The doctrine of Substantive Due Process precludes Government from enacting

orders that are arbitrary, wrongful, irrational, or not narrowly defined with rational bases.

       136.    The purported statutory justification for the Halt Order is 42 U.S.C. § 264, which

provides in relevant part:

               The Surgeon General, with the approval of the Secretary, is authorized to
               make and enforce such regulations as in his judgment are necessary to
               prevent the introduction, transmission, or spread of communicable diseases
               from foreign countries into the States or possessions, or from one State or
               possession into any other State or possession. For purposes of carrying out
               and enforcing such regulations, the Surgeon General may provide for such
               inspection, fumigation, disinfection, sanitation, pest extermination,
               destruction of animals or articles found to be so infected or contaminated
               as to be sources of dangerous infection to human beings, and other
               measures, as in his judgment may be
               necessary.

               42 U.S.C. § 264(a)

         137. The purported regulatory justification for the Halt Order is 42 CFR § 70.2 which

provides in relevant part:

               Whenever the Director of the Center for Disease Control and Prevention
               determines that the measures taken by health authorities of any State or
               possession (including political subdivisions thereof) are insufficient to
               prevent the spread of any of the communicable diseases from such State or
               possession to any other State or possession, he/she may take such measures
               to prevent such spread of the diseases as he/she deems reasonably necessary,
               including inspection, fumigation, disinfection, sanitation, pest



                                                 29
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 30 of 46                      PageID 30




               extermination, and destruction of animals or articles believed to be sources
               of infection.

               42 C.F.R. § 70.2

       138.    Based upon the purported regulatory and statutory justification, the Halt Order is

arbitrary, wrongful, and irrational, since there is no rational basis to conclude that the CDC, HUD,

or HHS, have such sweeping authority under 42 U.S.C. § 264 or 42 CFR § 70.2 as to deprive

Plaintiffs of the use and benefit of their property for these purposes.

       139.    The CDC, HUD, and HHS interpret 42 USC § 264 and 42 CFR § 70.2 to allow the

seizure of property reasonably believed to be infected or contaminated by a communicable disease

or dangerous infection.

       140.    This interpretation is not consistent with the clear and unambiguous language of

42 USC § 264 and 42 CFR § 70.2 which contains an exclusive and exhaustive list of permissible

government actions.

       141.    Nevertheless, the Halt Order as promulgated is not even limited to the CDC, HUD,

and HHS interpretation.

       142.    The Halt Order precludes Plaintiffs from evicting non-paying, delinquent, and

defaulting tenants occupying Plaintiffs’ property even without claim —let alone evidence in

support of such a claim— that the non-paying, delinquent, and defaulting tenant to be evicted has

been diagnosed with COVID-19, or that the property subject to the Halt Order has been

contaminated with COVID-19. As such, the Halt Order is an irrational and wrongful exercise by

the CDC, HUD, and HHS of powers granted them by 42 U.S.C. § 264 and 42 C.F. R. § 70.2.

       143.    The CDC, HUD, and HHS have implemented the Halt Order banning Plaintiffs

from evicting non-paying, delinquent, and defaulting tenants unlawfully residing in Units within




                                                 30
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 31 of 46                        PageID 31




the Western District of Tennessee (and throughout the United States) based upon a finding that

COVID-19 rates in New York City rival the 1918 flu.

       144.      This Halt Order was decreed without any regard to the fact that the infection rate in

New York City, the population density of New York City, and the number of homeless in New

York City is materially different than within the Western District of Tennessee.

       145.      The Halt Order offers no data or evidence to even suggest –let alone data or

evidence that demonstrates– that the far lower infection rate in the Western District of Tennessee

as compared to that of New York City would be at all impacted if Plaintiffs in the Western District

of Tennessee evicted non-paying, delinquent, and defaulting tenants.

       146.      To provide a sweeping national ban on Plaintiffs, and other property owners and

managers nationwide, from evicting non-paying, delinquent, and defaulting tenants throughout the

country based only upon data from New York City, and ignoring relevant data from other parts of

the country, is a wrongful and arbitrary exercise of powers even under 42 U.S.C. § 264 and 42

C.F.R. § 70.2.

       147.      By their terms 42 U.S.C. § 264 and 42 C.F.R. § 70.2 provide for the regulation of

contaminated articles and animals but do not confer any authority on the CDC to regulate real

property, nor does it confer authority on the CDC to regulate non-contaminated and non-infected

persons and premises, particularly those confined to intrastate disposition

       148.      The Halt Order is thus a wrongful and arbitrary exercise of executive power, not

grounded in law.

       149.      The Halt Order violates Plaintiffs’ constitutionally protected rights to substantive

due process.




                                                  31
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 32 of 46                      PageID 32




       150.     As a direct and proximate result of the Halt Order, Plaintiffs have been deprived of

the use and benefit of their property currently being held by non-paying, delinquent, and defaulting

tenants and to which Plaintiffs are lawfully entitled under Tennessee law, all without substantive

due process of law, in violation of the Fifth Amendment to the Constitution.

       151.     Plaintiffs seek a declaration by this Honorable Court that the Halt Order violates

Plaintiffs’ substantive due process, in violation of the Fifth Amendment to the Constitution.

       152.     Plaintiffs are entitled to preliminary and permanent injunctive relief enjoining the

Defendants from enforcing the Halt Order against the Plaintiffs.

                      COUNT III: VIOLATION OF PROCEDURAL DUE PROCESS

       153.     Plaintiffs hereby reallege and reassert each of the foregoing paragraphs of the

Complaint as if set forth herein verbatim.

       154.     As stated previously, the Fifth Amendment to the Constitution provides that: “No

person shall…be deprived of life, liberty, or property without due process of law.” U.S. Const.

Amend. V.

       155.     Procedural due process requires that the Government provide notice and an

opportunity to be heard before depriving a person of a property interest. Warren v. City of Athens

Ohio, 411 F.3d 697, 708 (6th Cir. 2005).

       156.     The Halt Order deprives Plaintiffs of their property rights in the Units they own

which are being occupied under a lease agreement by non-paying, delinquent, and defaulting

tenants, without affording the Plaintiffs an opportunity to a hearing at which the factfinder could

determine:

       a. whether the non-paying, delinquent, and defaulting tenant is a “covered person” under

             the Halt Order as a matter of law;



                                                  32
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 33 of 46                         PageID 33




       b. whether the Declaration form submitted by the non-paying, delinquent, and defaulting

           tenant is true and accurate in all respects as required under the Halt Order;

       c. whether evidence exists that contradicts the Declaration form submitted by the non-

           paying, delinquent, and defaulting tenant;

       d. on a month-by-month basis beginning September 4, 2020 and continuing for the

           duration of the Halt Order, whether there has been any material change in the non-

           paying, delinquent, and defaulting tenant’s circumstances which would change his or

           her status as a “covered person” under the Halt Order as a matter of law; and/or.

       e. whether Plaintiffs’ eviction of the non-paying, delinquent, and defaulting tenant would

           in fact materially increase the risk of spread of COVID-19 in the Western District of

           Tennessee.

       157.    Instead, under the Halt Order, once a Declaration is delivered to the owner or

manager by the non-paying, delinquent, and defaulting tenant, the Halt Order forbids the owner or

manager from taking any steps to evict the non-paying, delinquent, and defaulting tenant, without

a hearing, for four (4) months - through December 31, 2020.

       158.    The Halt Order violates Plaintiffs’ constitutionally protected rights to procedural

due process.

       159.    As a direct and proximate result of the Halt Order, Plaintiffs have been deprived of

the use and benefit of their property currently being held by non-paying, delinquent, and defaulting

tenants and to which Plaintiffs are lawfully entitled under Tennessee law, all without procedural

due process of law, in violation of the Fifth Amendment to the Constitution.

       160.    Plaintiffs seek a declaration by this Honorable Court that the Halt Order violates

Plaintiffs’ procedural due process, in violation of the Fifth Amendment to the Constitution.



                                                33
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 34 of 46                       PageID 34




       161.    Plaintiffs are entitled to preliminary and permanent injunctive relief enjoining the

Defendants from enforcing the Halt Order against the Plaintiffs.

                         COUNT IV: VIOLATION OF THE TENTH AMENDMENT

       162.    Plaintiffs hereby reallege and reassert each of the foregoing paragraphs of the

Complaint as if set forth herein verbatim.

       163.    The Tenth Amendment to the Constitution provides: “The powers not delegated to

the United States by the Constitution, nor prohibited by it to the States, are reserved to the States

respectively, or to the people.”

       164.    42 U.S.C. § 264(a), only authorizes the CDC to make and enforce regulations that

“provide for such inspection, fumigation, disinfection, sanitation, pest extermination, destruction

of animals or articles found to be so infected or contaminated as to be sources of dangerous

infection to human beings, and other measures, as in his judgment may be necessary.”

       165.    42 C.F.R. § 70.2, only authorizes the CDC to “take measures to prevent such spread

of the diseases as he/she deems reasonably necessary, including inspection, fumigation,

disinfection, sanitation, pest extermination, and destruction of animals or articles believed to be

sources of infection.”

       166.    Nothing in either statute or regulation purports to give the CDC, HUD, or HHS the

authority to issue an eviction-moratorium for owners and managers in the Western District of

Tennessee that can preempt the URLTA.

       167.    Nothing in either statute or regulation purports to give the CDC, HUD, or HHS the

authority to preempt the Contracts Clause of Article I, Section 10 of the Constitution, the Contracts

Clauses of the Tennessee State Constitution, or to otherwise preempt Tennessee law protecting the

impairment or obligations of private contracts.



                                                  34
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 35 of 46                          PageID 35




        168.     Nothing in the relevant statutes or regulations gives the CDC, HUD, or HHS the

authority to order a nationwide eviction-moratorium “to temporarily halt residential evictions to

prevent the further spread of COVID-19,” CDC Order, 85 Fed. Reg. at 55292, because the CDC’s

authority is confined to undertaking measures providing for “inspection, fumigation, disinfection,

sanitation, pest extermination, destruction of animals or articles found to be so infected or

contaminated as to be sources of dangerous infection to human beings.” 42 U.S.C. § 264(a); 42

C.F.R. § 70.2.

        169.     Although “state laws can be pre-empted by federal regulations as well as by federal

statutes,” Hillsborough County, Fla. v. Automated Medical Lab, Inc., 471 U.S. 707, 713 (1985),

42 U.S.C. § 264 contains a savings clause, which states: “Nothing in this section or section 266 of

this title, or the regulations promulgated under such sections, may be construed as superseding

any provision under State law (including regulations and including provisions established by

political subdivisions of States), except to the extent that such a provision conflicts with an exercise

of Federal authority under this section or section 266 of this title.” 42 U.S.C. § 264(e).

        170.     In other words, the CDC, HUD, and HHS are statutorily and expressly de-

authorized from issuing orders such as the Halt Order as the Halt Order seeks to supersede

Tennessee’s URLTA and Tennessee law relating to enforceability and impairment of contracts.

        171.     Tennessee’s URLTA and laws relating to non-impairment of contracts do not

conflict with the CDC’s authority to regulate “inspection, fumigation, disinfection, sanitation, pest

extermination, destruction of animals or articles found to be so infected or contaminated as to be

sources of dangerous infection to human beings.” 42 U.S.C. § 264(a).




                                                  35
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 36 of 46                      PageID 36




       172.    Tennessee’s URLTA and laws relating to non-impairment of contracts “has long

been regarded as a virtually exclusive province of the States upon which the federal government

cannot intrude. Sosna v. Iowa, 419 U.S. 393, 404 (1975).

       173.    The Halt Order displaces applicable Tennessee law and authority over residential

evictions and real property rights and therefore violates the Tenth Amendment.

       174.    Moreover, under the Tenth Amendment and its Anti-Commandeering Doctrine,

neither the CDC, HUD, nor HHS have the authority to commandeer Tennessee resources to

achieve federal policy objectives or commandeer Tennessee officers to execute federal mandates.

       175.    The Halt Order impermissibly commandeers Tennessee state courts and Tennessee

state officers to act as arms of the CDC, HUD, and/or HHS and impermissibly commandeers

Tennessee state courts and Tennessee state officers to apply, enforce, and implement an

unconstitutional federal mandate. New York v. United States, 505 U.S. 144 (1992); Printz v. United

States, 521 U.S. 898 (1997).

       176.    Neither the CDC, HUD, nor HHS have the authority to:

       (a)     order Tennessee state courts not to process residential evictions duly compliant with

       the URLTA;

       (b)     to “compel the States to … administer a federal regulatory program.” New York v.

       United States, 504 U.S. at 188;

       (c)     to “halt” pending or forthcoming Tennessee state adjudicatory proceedings; and/or

       (d)     to modify Tennessee state judicial processes by dictating that a Declaration

       executed by a non-paying, delinquent, and defaulting tenant “shall be adequate proof or

       otherwise suffice to halt or suspend the judicial eviction action.”




                                                36
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 37 of 46                      PageID 37




       177.    Plaintiffs are entitled to declaration by this Honorable Court that the Halt Order

violates the Tenth Amendment and its Anti-Commandeering Doctrine.

       178.    Plaintiffs are entitled to preliminary and permanent injunctive relief enjoining the

Defendants from enforcing the Halt Order against the Plaintiffs.

                      COUNT V: VIOLATION OF THE SUPREMACY CLAUSE

       179.    Plaintiffs hereby reallege and reassert each of the foregoing paragraphs of the

Complaint as if set forth herein verbatim.

       180.    Article VI, Clause 2 of the Constitution provides: “This Constitution, and the Laws

of the United States which shall be made in Pursuance thereof; and all treaties made, or which

shall be made, under the authority of the United States, shall be the supreme law of the land; and

the judges in every state shall be bound thereby, anything in the Constitution or laws of any State

to the contrary notwithstanding.”

       181.    The Supremacy Clause grants “supreme” status only to the “Laws of the United

States which shall be made in Pursuance thereof,” i.e. in pursuance of “This Constitution.” U.S.

Const. Art. VI, cl. 2 (emphasis added).” Id. (emphasis added).

       182.    The conditional nature of the Supremacy Clause accords supremacy to federal

statutes or regulations made “in Pursuance of” the Constitution.

       183.    “[A]n agency literally has no power to act, let alone to pre-empt the validly enacted

legislation of a sovereign State, unless and until Congress confers power upon it.” New York v.

FERC, 535 U.S. 1, 18 (2002).

       184.    “[P]reemption takes place only when and if the agency is acting within the scope

of its congressionally delegated authority.” Merck Sharp & Dohme Corp. v. Albrecht, 139 S. Ct.

1668, 1679 (2019).



                                                37
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 38 of 46                      PageID 38




       185.    Neither the CDC, HUD, nor HHS has identified any act of Congress that

demonstrates that the issuance of the Halt Order is within the scope of some congressionally

delegated authority to impose a restriction on residential evictions.

       186.    Neither the CDC, HUD, nor HHS has identified any act of Congress that

demonstrates that the issuance of the Halt Order is within the scope of some congressionally

delegated authority to impose eviction moratoriums across the United States.

       187.    Indeed, Section 4024 of the Cares Act, which did in fact impose a Congressionally

authorized temporary moratorium on evictions for Covered Properties, specifically and

intentionally did not delegate any authority to any agency, much less to the CDC, HUD, or HHS.

       188.    The failure by the CDC, HUD, and HHS to establish the requisite authoritative link

between relevant federal statute and the authority to issue the Halt Order, makes these agencies’

ability to invoke the Supremacy Clause and deprive Plaintiffs of their rights under Tennessee state

law exceedingly weak if not fatal.

       189.    Plaintiffs are entitled to declaration by this Honorable Court that the Halt Order

violates the Supremacy Clause.

       190.    Plaintiffs are entitled to preliminary and permanent injunctive relief enjoining the

Defendants from enforcing the Halt Order against the Plaintiffs.

                          COUNT VI: UNLAWFUL SUSPENSION OF LAW

       191.    Plaintiffs hereby reallege and reassert each of the foregoing paragraphs of the

Complaint as if set forth herein verbatim.

       192.    Evictions are a function of the police power of the states. Cf. Edgar A. Levy Leasing

Co. v. Siegel, 258 U.S. 242, 247 (1922) (considering the New York legislature’s authority to enact

emergency housing laws under the state’s police power).



                                                 38
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 39 of 46                     PageID 39




       193.    In Tennessee, an owner’s or manager’s rights and remedies upon a material breach

of the lease agreement, including the right to an eviction and to recover possession based on

nonpayment of rent, are governed by a comprehensive statutory scheme. T.C.A.§ 66-28-512;

§ 29-18-104; §§ 29-18-125, 126 , et al.

       194.    The Halt Order purports to waive or suspend the duly enacted laws that govern

residential evictions in the State of Tennessee.

       195.    Neither the CDC, HUD, nor HHS has the authority to waive, dispense with, or

suspend duly enacted state laws. Baker v. Carr, 369 U.S. 186, 244 n.2 (1962) (“No tribunal or

department in our system of governments ever can be lawfully authorized to dispense with the

laws, like some of the tyrannical Stuarts, or to repeal, or abolish, or suspend the whole body of

them[.]”) (quoting Luther v. Borden, 48 U.S. 1, 69 (1849) (Woodbury, J., dissenting)).

       196.    To the contrary, the Constitution expressly forbids the Executive Branch from

suspending State law.

       197.    The Constitutional doctrine of separation of powers precludes the suspension of

State law through federal executive action, as it would effect a merger of the executive and

legislative powers.

       198.    The CDC has not identified any act of Congress that delegated authority to impose

the Halt Order.

       199.    Section 264(a) authorizes the CDC only to make and enforce regulations that

“provide for such inspection, fumigation, disinfection, sanitation, pest extermination, destruction

of animals or articles found to be so infected or contaminated as to be sources of dangerous

infection to human beings, and other measures, as in his judgment may be necessary.”




                                                   39
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 40 of 46                       PageID 40




        200.    With no applicable grant of statutory authority to suspend laws, neither the CDC,

HUD, nor HHS has authority to do anything to impede or diminish Tennessee’s comprehensive

laws governing real property interests and evictions. See Home Bldg & Loan Ass’n v. Blaisdell,

290 U.S. 398, 425 (1934) (“Emergency does not create power. Emergency does not increase

granted power or remove or diminish the restrictions imposed upon power granted or reserved.”).

        201.    Because the CDC could not lawfully waive the application of Tennessee’s laws

governing evictions, the Halt Order is void ab initio and must fail.

        202.    Plaintiffs are entitled to declaration by this Honorable Court that the Halt Order

constitutes an unlawful suspension of law.

        203.    Plaintiffs are entitled to preliminary and permanent injunctive relief enjoining the

Defendants from enforcing the Halt Order against the Plaintiffs.

          COUNT VII: VIOLATION OF PLAINTIFFS’ RIGHTS TO ACCESS THE JUDICIARY

        204.    Plaintiffs hereby reallege and reassert each of the foregoing paragraphs of the

Complaint as if set forth herein verbatim.

        205.    The Article IV Privileges and Immunities Clause, the First Amendment Petition

Clause, the Fifth and Fourteenth Amendment Due Process Clauses and the Fourteenth

Amendment’s Equal Protection Clause, collectively provide a federal constitutional right to

Plaintiffs to access the courts. Christopher v. Harbury, 536 U.S. 403, 415, 415 n. 12 (2002).

        206.    No state actor may systemically frustrate a plaintiff “in preparing and filing suits”

by foreclosing a particular type of relief. Id. at 413.

        204.    In the Western District of Tennessee, a Forcible Entry and Detainer (FED) Warrant

under T.C.A. § 66-28-512 and § 29-18-104 is an owner’s or manager’s sole means of reacquiring

possession of his or her Unit from a non-paying, delinquent, and defaulting tenant.



                                                   40
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 41 of 46                         PageID 41




       205.    In the Western District of Tennessee, any self-help exercised by an owner or

manager to gain possession of a Unit from a non-paying, delinquent, and defaulting tenant is

wholly unlawful and subjects the owner or manager to both compensatory and punitive damages

under T.C.A. § 66-28-504.

       206.    Plaintiffs are entitled under the lease agreement, URLTA and general contract

principles of Tennessee law, to file a Forcible Entry and Detainer (FED) Warrant with the Shelby

County Court and to obtain a Writ of Possession under T.C.A. §§ 29-18-125, 126.

       207. Plaintiffs all have tenants that are in material breach of their lease agreements for

non-payment of rent and/or are unlawfully holding over in possession of the Units after the lease

term has expired.

        208.    These tenants have no defenses to their material breaches and delinquencies other

than the Halt Order.

        209.   By operation of the Halt Order, Plaintiffs are unable to access the Shelby County

Courts to obtain a possessory judgment under T.C.A. § 66-28-512 and § 29-18-104, nor are they

able to obtain a Writ of Possession pursuant to T.C.A. §§ 29-18-125, 126.

        210.   As a direct and proximate result of the Halt Order, Plaintiffs have no ability to

legally dispossess tenants for non-payment, delinquency, and default and re-gain possession of

their Units.

        211.   Plaintiffs are entitled to declaration by this Honorable Court that the Halt Order

systemically frustrates their right to access the Court and forecloses necessary relief.

        212.   Plaintiffs are further entitled to declaration by this Honorable Court that the Halt

Order violates their federal constitutional right to access the courts.




                                                  41
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 42 of 46                         PageID 42




       213.    Plaintiffs are entitled to preliminary and permanent injunctive relief enjoining the

Defendants from enforcing the Halt Order against the Plaintiffs.

              COUNT VIII: REQUEST FOR DECLARATORY JUDGMENT AND RELIEF

       214.    Plaintiffs hereby reallege and reassert each of the foregoing paragraphs of the

Complaint as if set forth herein verbatim.

       215.    Title 28 Section 2201 of the United States Code Provides:

               In a case of actual controversy within its jurisdiction…, any court of the
               United States, upon the filing of an appropriate pleading, may declare the
               rights and other legal relations of any interested party seeking such
               declaration, whether or not further relief is or could be sought. Any such
               declaration shall have the force and effect of a final judgment or decree and
               shall be reviewable as such.

       28 U.S.C. § 2201

       216.    The Declaratory Judgment Act, 28 U.S.C. § 2201, allows those threatened with a

government taking to seek a declaration of the constitutionality of the disputed governmental

action before potentially sustaining un-compensable damages. Eastern Enterprises v. Apfel, 524

U.S. 498, 521 (1998).

       217.    The Government, through the Halt Order, has violated Plaintiffs’ constitutional

rights and taken their property and property rights causing Plaintiffs’ un-compensable damages.

       218.    Because of the Government’s rights of immunity, Plaintiffs cannot seek monetary

recovery from the Government for the damages Plaintiffs have sustained, and are sustaining, as a

result of the Halt Order.

       219.    Moreover, the Halt Order threatens criminal prosecution against Plaintiffs if any

steps are taken by Plaintiffs to protect their rights and their own property and property rights and/or

to diminish the damages they have sustained, and are sustaining, as a result of the Halt Order




                                                  42
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 43 of 46                        PageID 43




        220.     Plaintiffs’ only relief can be found in this Honorable Court’s declaration of the

unconstitutionality and unenforceability of the Halt Order before Plaintiffs sustain even greater

un-compensable damages

        221.     For the reasons stated herein, Plaintiffs are entitled to a declaration that the Halt

Order violates the Takings Clause, Substantive and Procedural Due Process Rights of Plaintiffs as

guaranteed by the Fifth Amendment to the Constitution, the Tenth Amendment to the Constitution

and its Anti-Commandeering Doctrine, and the Supremacy Clause and constitutes an unlawful

suspension of law and violation of Plaintiffs’ rights to access the judiciary..

        222.     The Halt Order should be declared unconstitutional and its provisions

unenforceable.

               COUNT IX: REQUEST FOR PRELIMINARY AND PERMANENT INJUNCTION

        223.     Plaintiffs hereby reallege and reassert each of the foregoing paragraphs of the

Complaint as if set forth herein verbatim.

        224.     Plaintiffs are likely to succeed on the merits of this Complaint for the reasons set

forth in detail herein.

        225.     The Halt Order is unconstitutional and its provisions unenforceable.

        226.     As a direct and proximate result of the Halt Order, Plaintiffs are sustaining

irreparable harm by the Government’s violation of Plaintiffs’ constitutional rights and rights to

possession, use, and enjoyment of their property.

        227.     As a direct and proximate result of the Halt Order, Plaintiffs are sustaining

economic loss and damage.

        228.     Because of the Government’s rights of immunity, Plaintiffs’ economic loss and

damage is irreparable.



                                                  43
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 44 of 46                       PageID 44




       229.     The Halt Order’s provision that non-paying, delinquent, and defaulting tenants “are

still required to pay rent” and that Plaintiffs may recover the prior ten (10) months of non-payment

rent beginning in January 2021 is wholly illusory.

       230.     These Plaintiffs seek and have a right to possession of their Units.

       231.     Issuance of a Preliminary Injunction will not cause substantial harm to others as

tenants will have every legal right to remain in the Units for as long as they perform as required

under the lease agreements and the URLTA.

       232.     Moreover, there is no evidence to support the Government’s claim that the eviction

of non-paying, delinquent, and defaulting tenants from Units in the Western District of Tennessee

will result in homelessness or that it will increase the spread of COVID-19.

       233.     The public interest will be served by issuance of an injunction, as the Government’s

actions constitute a potentially egregious violation of the rights and protections afforded under the

Constitution.

       234.     Failure to issue an injunction threatens to destabilize the housing market and reduce

available housing.

       235.     Rule 65 of the Federal Rules of Civil Procedure allows this Honorable Court to

issue a preliminary injunction upon notice to the adverse parties. See also McNeilly v. Land, 684

F.3d 611 (6th Cir. 2012).

       236.      Plaintiffs ask this Honorable Court to strike down the Halt Order as

unconstitutional and/or violative of applicable law or, in the alternative, to suspend operation of

the Halt Order, and to enjoin Defendants from enforcing any element of the Halt Order until further

Order of this Honorable Court.




                                                 44
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 45 of 46                    PageID 45




       237.      Plaintiffs further ask this Honorable Court to permanently strike down the Halt

Order as unconstitutional and/or violative of applicable law and enjoin Defendants from enforcing

any element of the Halt Order.

   WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that:

       1.       That process issue and Defendants be required to answer this Complaint within the

time prescribed by law.

       2.       This Honorable Court make a declaratory finding that the Halt Order violates

Plaintiffs’ rights guaranteed by the Takings Clause of the Fifth Amendment of the United States

Constitution.

       3.       This Honorable Court make a declaratory finding that the Halt Order violates

Plaintiffs’ constitutionally protected rights to substantive due process.

       4.       This Honorable Court make a declaratory finding that the Halt Order violates

constitutionally protected rights to procedural due process.

       5.       This Honorable Court make a declaratory finding that the Halt Order violates

Plaintiffs’ rights guaranteed by the Tenth Amendment of the United States Constitution.

       6.       This Honorable Court make a declaratory finding that the Halt Order violates the

Anti-Commandeering Doctrine of the Tenth Amendment of the United States Constitution.

       7.       This Honorable Court make a declaratory finding that the Halt Order violates the

Supremacy Clause of the United States Constitution.

       8.       This Honorable Court make a declaratory finding that the Halt Order constitutes an

unlawful suspension of law.

       9.       This Honorable Court make a declaratory finding that the Halt Order violates

Plaintiffs’ constitutionally protected rights to access the judiciary.



                                                  45
Case 2:20-cv-02691-MSN-atc Document 1 Filed 09/15/20 Page 46 of 46                         PageID 46




         10.   This Honorable Court make a declaratory finding that enforcement of any provision

of the Halt Order is unconstitutional.

         11.   This Honorable Court promptly conduct a hearing and grant a preliminary

injunction, enjoining Defendants from enforcing the Halt Order.

         12.   Pursuant to Fed. R. Civ. P. 65, this Honorable Court schedule and conduct a

hearing, as soon as practicable, on Plaintiffs’ request for preliminary injunctive relief striking down

the Halt Order or, in the alternative, suspending operation of the Halt Order, and enjoining

Defendants from enforcing any element of the Halt Order until further Order of this Honorable

Court.

         13.   This Honorable Court permanently strike down the Halt Order and enjoin

Defendants from enforcing any element of the Halt Order.

         14.   For such further relief to which Plaintiffs may be entitled.



                                                       Respectfully Submitted,

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                                                  46
